           Case 8:20-bk-05750-CPM    Doc 224    Filed 10/27/22   Page 1 of 13




                   UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

In re:

QUAN DINH TRAN,                                Case No.: 8:20-bk-05750-CPM
                                               Chapter 7
     Debtor.
_____________________________________/

                       PROOF OF SERVICE OF ORDER

         I HEREBY CERTIFY that on October 27, 2022, a true and correct copy of

the Order Denying as Moot Unopposed Motion to Cancel October 24, 2022, Hearing

[Doc 223], attached hereto, was electronically filed and served using the Court’s

CM/ECF system on all registered CM/ECF users, and via U.S. Mail to all parties

listed below and all parties on the attached matrix:

Internal Revenue Service
Attn: Kevin Connelly
600 Arch St; Room 5200
Philadelphia, PA 19106

Internal Revenue Service
1111 Constitution Avenue, NW
Washington, DC 20224


Dated: October 27, 2022

                                       Respectfully Submitted,

                                       /s/ Paul Thanasides
                                       Paul Thanasides
                                       Florida Bar No. 103039
Case 8:20-bk-05750-CPM   Doc 224   Filed 10/27/22   Page 2 of 13




                           paul@mcintyrefirm.com
                           clservice@mcintyrefirm.com
                           Mary Thanasides
                           Florida Bar No.: 107551
                           mary@mcintyrefirm.com
                           complexlit@mcintyrefirm.com
                           McIntyre Thanasides Bringgold
                              Elliott Grimaldi Guito & Matthews, P.A.
                           500 E. Kennedy Blvd., Suite 200
                           Tampa, FL 33602
                           Telephone: 813.223.0000
                           Facsimile: 813.225.1221
                           Attorneys for Q3 Investments
                           Recovery Vehicle, LLC




                             2
            Case
            Case8:20-bk-05750-CPM
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                                   Doc224
                                       223 Filed
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                                                          Page31of
                                                                 of13
                                                                    2

[jiffyordnh] [Bench Order No Hearing +]


                                              ORDERED.
         Dated: October 24, 2022




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                     Case No. 8:20−bk−05750−CPM
                                                                           Chapter 7

Quan Dinh Tran




________Debtor*________/


ORDER DENYING AS MOOT UNOPPOSED MOTION TO CANCEL OCTOBER 24, 2022 HEARING

           THIS CASE came on for consideration without a hearing of the Unopposed Motion to
         Cancel October 24, 2022 Hearing (Doc. 222 ), filed by Creditor Q3 Investment Recovery
         Vehicle, LLC .

           The Court having considered the record, the Unopposed Motion to Cancel October 24, 2022
         Hearing is Denied as Moot .

             The Objection to Claim No. 144 (Doc. No. 134) is now moot due to the claimant's having
         filed Amended Claim No. 144 on September 21, 2022. The Objection to Exemptions (Doc. No.
         131) has been withdrawn. The Court will, therefore, cancel the hearing set for October 24, 2022,
         without the need for the parties to file a motion requesting the same.

            The Court in its discretion may file written findings of facts and conclusions of law at a later
         date.

            Service Instructions:

            Attorney Paul Thanasides is directed to serve a copy of this order on interested non−CM/ECF
         users and file a proof of service within three (3) days of entry of the order.
   Case
   Case8:20-bk-05750-CPM
        8:20-bk-05750-CPM Doc
                          Doc224
                              223 Filed
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                                                        of13
                                                           2

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by
two individuals.
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Label Matrix for local noticing               AmeriCredit Financial Services, Inc., dba GM     Joy Kelley Augustine
113A-8                                        P O Box 183853                                   Read & Kelley Estate Services
Case 8:20-bk-05750-CPM                        Arlington, TX 76096-3853                         P.O. Box 3111
Middle District of Florida                                                                     N. Fort Myers, FL 33918-3111
Tampa
Thu Oct 27 10:02:41 EDT 2022
Scott Braden                                  Richard Cain                                     Tanja J Cisliek
c/o Rappaport, Osborne & Rappaport, PLLC      2713 W. Morrison Ave.                            Future Home Realty Inc, a Florida Corp.
1300 N Federal Hwy Ste 203                    Tampa, FL 33629-5332                             10575 68th Avenue, North
Boca Raton, FL 33432-2848                                                                      Suite B-2
                                                                                               Seminole, FL 33772-6023

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Larry S. Hyman, CPA                           c/o Rappaport, Osborne & Rappaport, PLLC         1492 Cortez Ln NE
PO Box 18625                                  1300 N. Federal Hwy, Suite 203                   Brookhaven, GA 30319-3955
Tampa, FL 33679-8625                          Boca Raton, FL 33432-2848


Quan Dinh Tran                                Truist Bank                                      1010 Capital, Inc.
1994 Carolina Circle NE                       Bankruptcy Department                            804 Anderson Street
St Petersburg, FL 33703-3414                  VA-RVW-3034                                      Durham, NC 27705-1054
                                              P.O. Box 27767
                                              Richmond, VA 23261-7767

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Tampa, FL 33629-7612                          San Antonio, TX 78257                            New Orleans, LA 70118-1139



Ashwood Lane, LP                              Austin Walter                                    Ayon Capital, LLC
Anup Vora                                     404 W. Secretariat Dr                            1010 N. Florida Ave.
17908 Toboggan Ln.                            Tempe, AZ 85284-1365                             Tampa, FL 33602-3895
Rockville, MD 20855-2829


Bankers Health Group                          Bankers Healthcare Group c/o Pinnacle Ba         Barry Ettinger
PO BOX 332509                                 Tom                                              969 Revere Dr.
Murfreesboro, TN 37133-2509                   Fox                                              Hillside, NJ 07205-2947
                                              150 3rd Ave S. Ste 900
                                              Nashville, TN 37201-2034

Benjamin Phillips                             Bobby Escoe                                      Bradley 1984 LLC
246 Klatte Rd.                                11000 6th St. E.                                 504 N. Lake Dr.
Hermon, ME 04401-0638                         Treasure Island, FL 33706-3033                   Springlake Heights, NJ 07762-2090
                             Case 8:20-bk-05750-CPM       Doc 224        Filed 10/27/22   Page 6 of 13
Brandon Kochen                              Brett Armstrong                                Brian McCarthy
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2014 W. Augusta Blvd.                       Odessa, FL 33556-4764                          Islip, NY 11751-4903
Chicago, IL 60622-5154


Brian Smith                                 Brij Sharma                                    Carolyn Cicero
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Brooklyn, NY 11206-7097                     Southington, CT 06489-3825                     Baton Rouge, LA 70810-6595



Chandar LLC                                 Chien-Jung Chu                                 Christopher Ducoin
1704 Esquire Ln.                            41-15 Ithaca St                                1231 Saint Mary Street
McLean, VA 22101-4754                       Elmhurst, NY 11373-2507                        New Orleans, LA 70130-5125



Clay Brown                                  CryptoSense, LLC                               Cyril Holdings, LLC
19491 Deer Lake Rd.                         7940 C Wrenwood Blvd.                          20831 Lake Vienna Dr.
Lutz, FL 33548-4245                         Baton Rouge, LA 70809-1766                     Land O Lakes, FL 34638-8322



Cyril VI, LP                                Daniel Wahba Trust                             Danny Eapen
Peter Wahba                                 7402 N. Mobley Rd.                             12920 Keystone Ct.
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Conover, NC 28613-9401                      Grafton, WI 53024-9591                         New York, NY 10016-6522



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Dos Bowies, LP                              Douglas C. Borden                              Emejo Holdings LLC
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Coral Gables, FL 33134-5269                                                                Latana, TX 76226-6980


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Palm Harbor, FL 34683-0016                  Tampa, FL 33611-1501                           Morristown, NJ 07960-5248
                             Case 8:20-bk-05750-CPM       Doc 224         Filed 10/27/22   Page 7 of 13
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                                            Tampa, FL 33602-5615


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Memphis, TN 38120-1942                      Brentwood, TN 37027-8945                        Odessa, FL 33556-4828



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Vestavia Hills, AL 35242-7503               7045 Lake Run Drive                             Philadelphia, PA 19101-7346
                                            Birmingham, AL 35242-7503


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                               Case 8:20-bk-05750-CPM       Doc 224          Filed 10/27/22   Page 8 of 13
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Bloomingdale, IL 60108-8819                   Ponte Vedra Beach, FL 32082-1225                 601 S Harbour Island Blvd
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New Orleans, LA 70113-1093                                                                     7940C WRENWOOD BLVD
                                                                                               BATON ROUGE, LA 70809-1766
                               Case 8:20-bk-05750-CPM       Doc 224          Filed 10/27/22   Page 9 of 13
Land Rover Financial Group                    Luke West                                        Lux Living LLC
c/o Chase                                     737 N. Madison Street                            Jusmin Patel
PO Box 78232                                  Tupelo, MS 38804-2017                            1675 Scott Valley Rd.
Phoenix, AZ 85062-8232                                                                         Reno, NV 89523-2154


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504 N. Lake Dr.                               PO Box 1508                                      LEGAL DOCUMENT PROCESSING
Springlake Heights, NJ 07762-2090             Buffalo, NY 14240-1508                           626 COMMERCE DRIVE
                                                                                               AMHERST NY 14228-2307


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Tampa, FL 33609-3528                          Kent, WA 98042-5735                              Collwyville, TX 76034-3544



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c/o McIntyre Thanasides                       Tampa, FL 33606-4039                             Alliance, OH 44601-3721
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Milan Lombardi                                Mital Panara                                     Murph Gottlieb
Shaily Shah JT TBE                            c/o McIntyre Thanasides                          1652 Crestview Lane
1147 Abbeys Way                               500 E Kennedy Blvd #200                          Erie, CO 80516-4025
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Canton, MI 48188-3167                         Lincoln, NE 68508-1922                           PO Box 82561
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Nimish Patel                                  Nirmalji Odedra                                  PFG Prop LLC
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                              Case 8:20-bk-05750-CPM      Doc 224         Filed 10/27/22   Page 10 of 13
Paul Pisklak                                 Pulin Shah                                     Q3 Investment Recovery
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Bellaire, TX 77401-5216                      New Orleans, LA 70115-4119                     c/o Jennifer Jones, RA
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                                                                                            Tampa, FL 33602-4936

Q3 Investment Recovery Vehicle, LLC          RVB Orthopaedics, LLC                          Rafal Subernat
c/o McIntyre Thanasides                      c/o Mohit Bansal                               1154 Buck Hill Drive
500 E Kennedy Blvd., Suite 200               1272 Cordova Blvd NE                           Veazie, ME 04401-7103
Tampa, FL 33602-4936                         St. Petersburg, FL 33704-2445


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4921 Rangewood Dr.                           1900 Little Elm Dr #26                         Sachin Patel
Flower Mound, TX 75028-1697                  Cedar Park, TX 78613-2812                      5425 Lampasas Street
                                                                                            Houston, TX 77056-6228


Rita Patel                                   Robert Seijas                                  Robert Seijas
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Westport, MA 02790-4978                      Tampa, FL 33626                                Tampa, FL 33626-4463



Ryan Pond                                    Ryan Schroeder                                 Ryan Shultz
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Fort Mill, SC 29707-8688                     Phoenix, AZ 85085-9005                         Denver, CO 80207-3218



Salman Malad                                 Samuel R Cicero                                Sandhya Mani
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                                                                                            500 E Kennedy Blvd #200
                                                                                            Tampa, FL 33602-4936
                             Case 8:20-bk-05750-CPM      Doc 224          Filed 10/27/22   Page 11 of 13
Sandra Porter                               Sanjay Mehta                                    Sanket Vyas
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Shyama Donaldson                            Siddhartha Dev Pagidipati                       Simon Payments, LLC
3437 Ocean Cay Circle                       450 Knights Run Ave #801                        Tony Garay
Jacksonville Beach, FL 32250-3924           Tampa, FL 33602-5799                            13818 SW 152 St. #136
                                                                                            Miami, FL 33177-1164


Skyway Cap Markets, LLC                     Srinivas Boppana                                State Exchange Bank
Suite 3550                                  3639 Waterside Way                              1280 Main Street
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Tampa, FL 33602-5878


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Summer Bankston                             Sunil Cherry                                    Syed Kalim Hussaini
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                            Case 8:20-bk-05750-CPM                Doc 224         Filed 10/27/22       Page 12 of 13
Tony Fargiano                                        Tony Tran                                            Tripp Rogers
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Tropea Homes LLC                                     Truist Bank                                          U.S. Department of Justice
504 N. Lake Dr.                                      PO Box 3307                                          950 Pennsylvania Ave, NW
Springlake Heights, NJ 07762-2090                    Greenville, SC 29602-3307                            Washington, DC 20530-0001



Udit V. Patel                                        V. Larry Rabalais                                    Venkat Iyer
c/o McIntyre Thanasides                              14124 Kimbleton Ave.                                 904 St. Andrews Place
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Tampa, FL 33602-4936


Waterway Marina                                      William Heflin Barton III                            William Payne
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Stuart, FL 34994-1110                                Tuscaloosa, AL 35406-2882                            134 Woodmont Way
                                                                                                          Ridgeland, MS 39157-8618


Zerophee Holdings LLC                                Zinovy M Katz                                        Leslie S Osborne +
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c/o McIntyre Thanasides                              Tampa, FL 33609-3011                                 1300 North Federal Highway
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Tampa, FL 33602-4936                                                                                      Boca Raton, FL 33432-2848

Michael C Markham +                                  Paul B Thanasides +                                  Lynn Welter Sherman +
Johnson Pope Bokor Ruppel & Burns LLP                McIntyre Thanasides Bringgold                        Trenam Law
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                                                     Tampa, FL 33602-4936

United States Trustee - TPA7/13 +                    Nicole M Cameron +                                   Mary R Thanasides +
Timberlake Annex, Suite 1200                         Nicole M. Cameron, P.A.                              McIntyre Thanasides
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Tampa, FL 33602-3949                                 Apollo Beach, FL 33572-2251                          Tampa, FL 33602-4936


Paul A Humbert +                                     Jeremy A Rill +                                      Note: Entries with a ’+’ at the end of the
Law Offices of Paul A. Humbert, P.L.                 United States Department of Justice                  name have an email address on file in CMECF
9655 South Dixie Highway                             Tax Division
Ste 312                                              Post Office Box 14198
Miami, FL 33156-2858                                 Washington, DC 20044-4198



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


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